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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

HARDBALL BASEBALL ACADEMY,                          §
LLC,                                                §
     Plaintiff,                                     §
                                                    §
v.                                                  §    Civil Action No. 4:22-CV-01181
                                                    §
                                                    §
CAMERON JOHNSON,                                    §
   Defendant.                                       §



                                       AFFIDAVIT

STATE OF TEXAS                §
                              §
COUNTY OF HARRIS              §

      BEFORE ME, the undersigned authority, on this day personally appeared Cameron
Johnson, who swore under oath that the following facts are true:

        1. “My name is Cameron Johnson. I am over eighteen (18) years of age, of sound mind,
           and capable of making this Affidavit. The facts stated in this Affidavit are within my
           personal knowledge and are true and correct.

        2. “I am a baseball coach for adolescents and used to work for the Hardball Baseball
           Academy, LLC (“Hardball”). My primary duties consisted of facilitating baseball
           practices at Hardball’s Dickinson, Texas and Pearland, Texas facility locations.

        3. “As an employee of Hardball, I worked the hours necessary to perform my duties and
           Hardball was responsible for keeping track of the time I spent there and paying me for
           that time accordingly. During my employment, I spent more than forty (40) hours a
           week working for Hardball.

        4. “During my course of employment, I performed further services for Hardball that
           included various maintenance and cleaning tasks. However, I was not compensated for
           my time in performing same. Further, on one occasion, I helped repair a net, which
           was installed to prevent struck baseballs from exiting the batting cages. I was forced
           to make this repair because, due to Hardball’s failure to properly maintain the net, I
           was hit in the face by a struck ball.




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       5. “On other occasions, I reported to Hardball’s facilities in both Dickinson, Texas and
          Pearland, Texas to pick up equipment and travel to several other locations in Texas to
          further perform my employment duties. For this required travel, I was not compensated
          by Hardball.

       6. “As part of my employment, I also traveled to several other different locations, such as
          Dallas, Texas, College Station, Texas, and various cities in the State of Louisiana, to
          coach baseball tournaments. Hardball neither compensated me for my travel time nor
          reimbursed me for my travel expenses.

       7. “When traveling to other cities for work, I would spend at least one (1) night there for
          the baseball tournaments I coached but was not compensated for the travel time or
          expenses. Rather, Hardball would actually deduct money from my paycheck.

       8. “During my consistent travelling, I would prepare for practices and games by
          contacting clients, compiling practice drills, reviewing strategies, as well as working
          on other ancillary tasks other that needed my attention.

       9. “I have read Defendant’s Motion for Summary Judgement and am able to state that the
          facts stated therein are within my personal knowledge and are true and correct.”

Further, Affiant sayeth not.



       SIGNED on this 10th day of November, 2022.


                                                    Cameron Johnson


SWORN TO AND SUBSCRIBED before me, the undersigned authority, by Cameron Johnson,
on this 10th day of November, 2022.



                                            Notary Public, in and for the State of Texas




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